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Ths Certifies that DESMOND DmSHAWN MORGAN

, ie es da re ame us Wohnen teen cnantea
’ in te
te een

and. RACHAEL ONVEWELIENT LUCK ¥ : were united in

MARRIAGE
by

Sen et eee

manne SOHN STRAUSS, JUDGE

“tee me te tne cree,
tara ame 8 mp
tt hterninrtictdineeanty & beeline

on the ae
06TH  dayof _ EEBRUARY __, mthe year, _ga99

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} Fage oa72 This gern dayof _MaRcH 2020

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Case 1:23-mi-99999-UNA Document 2906-5 Filed 09/08/23 Page 2 of 2

AN Application No, 2020000449
avdy PP
£0 ty . License No. _
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*g STATE OF GEORGIA
fg County of Cobb
Ga :
tis

Mirtle LICCNS

To any Clergy or any other person authorized to solemnize: ‘
You are hereby authorized and permitted to join the persons named below in Matrimony,

DESMOND DESHAWN MORGAN AND RACHAEL ONYEWELIEHI LUCKY

according to the Constitution and laws of this state, and for doing so this shall be your sufficient license.

Given Under My Hand and Seal this

06TH day of FEBRUARY , 20200
oo Khe Probate Judge

— ‘$

Deputy Clerk

J hereby certify, that the persons named ‘above for whom this Hcense was issued were joined together in

Matrimony by me on the hn day of E20 VY AX\ : 2020 , in the City of
pA .

_ M Ou \ CATA , County of (A lp , Geargia

| nid
Recorded ; . Ayo | ‘

Sigyfgture off Officiant

Printed Name: JO YW Sit (WW) Ce

Deputy Clerk Title: AQ CY AX, JN ARC,

COBB COUNTY PROBATE COURT

32 WADDELL STREET Address: 32. WAGGRN EEO
MARIETTA, GEORGIA 30060 MAK RAAs GA 20040

Officiant must provide a legible signature on all copies. Return this license to the Cobb County Probate Judge
inunediately after performing ceremony. Certified copies of the license may be obtained after the license is recorded

by the Probate Court.

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